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 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                              ) Case No.: 2:13-cr-0160 MCE
     United States of America,                  )
 9                                              ) STIPULATION REGARDING EXCLUDABLE TIME
                  Plaintiff,                    ) PERIODS UNDER SPEEDY TRIAL ACT; FINDINGS
10                                              ) AND ORDER THEREON
           vs.                                  )
11                                              ) Court: Hon. Morrison C. England
                                                ) Time:     9:00 a.m.
12   Sakhanskiy, et. al.,                       ) Date:     July 11, 2013
                                                )
13                Defendants.

14

15                                         STIPULATION

16
           Plaintiff United States of America, by and through its counsel of record, and
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     defendant, by and through their counsel of record, hereby stipulate as follows:
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           1.     By previous order, this matter was set for status on June 6, 2013.
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           2.     By this stipulation, defendants now moves to continue the status
20   conference until July 11, 2013 and to exclude time between June 6, 2013 and July 11,

21   2013 under Local Code T4.   Plaintiff does not oppose this request.

22         3.     The parties agree and stipulate, and request that the Court find the

23   following:

           a.     The government has represented that the discovery associated with this
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     case includes over 6,000 pages including investigative reports and related documents
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     in electronic form, over 3 hours of audiotaped interviews with Sac Metro fire
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     investigators and local law enforcement and other witnesses and photographs. All of
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     this discovery has been either produced directly to counsel and/or made available for
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     inspection and copying.




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           b.     Counsel for defendants desires additional time to consult with their
 1
     clients, to review the current charges, to conduct investigation and research related
 2
     to the charges, to review and copy discovery for this matter, to discuss potential
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     resolutions with their clients, to prepare pretrial motions, and to otherwise prepare
 4   for trial.

 5         c.     Counsel for defendant believes that failure to grant the above-requested

 6   continuance would deny them the reasonable time necessary for effective preparation,

 7   taking into account the exercise of due diligence.

           d.     The government does not object to the continuance.
 8
           e.     Based on the above-stated findings, the ends of justice served by
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     continuing the case as requested outweigh the interest of the public and the
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     defendants in a trial within the original date prescribed by the Speedy Trial Act.
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           f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
12   3161, et seq., within which trial must commence, the time period of June 6, 2013 to

13   July 11, 2013 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

14   B(iv) [Local Code T4] because it results from a continuance granted by the Court at

15   defendant’s request on the basis of the Court's finding that the ends of justice

     served by taking such action outweigh the best interest of the public and the
16
     defendants in a speedy trial.
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           4.     Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
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     from the period within which a trial must commence.
20
     IT IS SO STIPULATED.
21   Dated: June 3, 2013              Respectfully submitted,
22

23                                          __/s/ Shari Rusk___
                                           Shari Rusk
24                                          Attorney for Defendant
                                            Larisa Sakhanskiy
25
                                             /s/ Mark Reichel
26                                           Mark Reichel
                                             Attorney for Defendant
27                                           Alexander Sakhanskiy
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                                             /s/ Michael Anderson
 1                                           Michael Anderson
                                             Assistant United States Attorney
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 3
                                     ORDER
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 5            In accordance with the foregoing stipulation of the parties, and good

 6   cause appearing, the status conference in this matter is hereby continued

 7   from June 6, 2013 to July 11, 2013 at 9:00 a.m.

 8            IT IS SO ORDERED.

 9   DATED:     June 4, 2013

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                                  _____________________________________________
11                                MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                  UNITED STATES DISTRICT COURT
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